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 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
      KENNETH DAVIDSON,
11               Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR DENIAL
12         vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                               PERSON IN VIOLATIONS OF
13
                                               1. AMERICANS WITH DISABILITIES;
14
      MILLS PALM PLAZA LLC; and DOES 1         2. CALIFORNIA’S UNRUH CIVIL
15    to 10,                                   RIGHTS ACT;
16               Defendants.                   3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
17
                                               4. CALIFORNIA HEALTH & SAFETY
18                                             CODE;
19                                             5. NEGLIGENCE
20
21
22
23
24
25         Plaintiff KENNETH DAVIDSON (“Plaintiff”) complains of Defendants MILLS

26    PALM PLAZA LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

27    //

28    //



                                       COMPLAINT - 1
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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    diagnosed with paraplegia secondary to MVA damaging T7 and is substantially limited in
 4    his ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling
 5    in public.
 6            2.   Defendants are, or were at the time of the incident, the real property owners,
 7    business operators, lessors and/or lessees of the real property for a bar (“Business”)
 8    located at or about 10070 Mills Ave., Whittier, California.
 9            3.   The true names and capacities, whether individual, corporate, associate or
10    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12    Court to amend this Complaint when the true names and capacities have been
13    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
14    fictitiously named Defendants are responsible in some manner, and therefore, liable to
15    Plaintiff for the acts herein alleged.
16            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19    the things alleged herein was acting with the knowledge and consent of the other
20    Defendants and within the course and scope of such agency or employment relationship.
21            5.   Whenever and wherever reference is made in this Complaint to any act or
22    failure to act by a defendant or Defendants, such allegations and references shall also be
23    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24    and severally.
25                                  JURISDICTION AND VENUE
26            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28    seq.)



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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and Plaintiff’s causes of actions arose in this district.
 9                                   FACTUAL ALLEGATIONS
10          10.    In or about June of 2022, Plaintiff went to the Business.
11          11.    The Business is a bar business establishment, open to the public, and is a
12    place of public accommodation and affects commerce through its operation. Defendants
13    provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with his ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to post required signage such as “Minimum Fine $250.”
22                 b.     Defendant failed to maintain the parking space designated for persons
23                        with disabilities to comply with the federal and state standards.
24                        Defendants failed to maintain the paint on the ground as required.
25                 c.     Defendants failed to maintain the parking space designated for
26                        persons with disabilities to comply with the federal and state
27                        standards. Defendants failed to maintain the mark on the space with
28                        the International Symbol of Accessibility.



                                              COMPLAINT - 3
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 1                 d.     Defendant failed to maintain the parking space designated for persons
 2                        with disabilities to comply with the federal and state standards.
 3                        Defendants failed to provide the access aisles with level surface
 4                        slopes.
 5          14.    These barriers and conditions denied Plaintiff the full and equal access to the
 6    Business and caused him difficulty and frustration. Plaintiff wishes to patronize the
 7    Business, however, Plaintiff is deterred from visiting the Business because his knowledge
 8    of these violations prevents him from returning until the barriers are removed.
 9          15.    Based on the violations, Plaintiff alleges, on information and belief, that
10    there are additional barriers to accessibility at the Business after further site inspection.
11    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
12    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
13          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
14    knew that particular barriers render the Business inaccessible, violate state and federal
15    law, and interfere with access for the physically disabled.
16          17.    At all relevant times, Defendants had and still have control and dominion
17    over the conditions at this location and had and still have the financial resources to
18    remove these barriers without much difficulty or expenses to make the Business
19    accessible to the physically disabled in compliance with ADDAG and Title 24
20    regulations. Defendants have not removed such barriers and have not modified the
21    Business to conform to accessibility regulations.
22                                    FIRST CAUSE OF ACTION
23        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
24          18.    Plaintiff incorporates by reference each of the allegations in all prior
25    paragraphs in this complaint.
26          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
27    shall be discriminated against on the basis of disability in the full and equal enjoyment of
28    the goods, services, facilities, privileges, advantages, or accommodations of any place of



                                             COMPLAINT - 4
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 1    public accommodation by any person who owns, leases, or leases to, or operates a place
 2    of public accommodation. See 42 U.S.C. § 12182(a).
 3          20.   Discrimination, inter alia, includes:
 4                a.    A failure to make reasonable modification in policies, practices, or
 5                      procedures, when such modifications are necessary to afford such
 6                      goods, services, facilities, privileges, advantages, or accommodations
 7                      to individuals with disabilities, unless the entity can demonstrate that
 8                      making such modifications would fundamentally alter the nature of
 9                      such goods, services, facilities, privileges, advantages, or
10                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11                b.    A failure to take such steps as may be necessary to ensure that no
12                      individual with a disability is excluded, denied services, segregated or
13                      otherwise treated differently than other individuals because of the
14                      absence of auxiliary aids and services, unless the entity can
15                      demonstrate that taking such steps would fundamentally alter the
16                      nature of the good, service, facility, privilege, advantage, or
17                      accommodation being offered or would result in an undue burden. 42
18                      U.S.C. § 12182(b)(2)(A)(iii).
19                c.    A failure to remove architectural barriers, and communication barriers
20                      that are structural in nature, in existing facilities, and transportation
21                      barriers in existing vehicles and rail passenger cars used by an
22                      establishment for transporting individuals (not including barriers that
23                      can only be removed through the retrofitting of vehicles or rail
24                      passenger cars by the installation of a hydraulic or other lift), where
25                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26                d.    A failure to make alterations in such a manner that, to the maximum
27                      extent feasible, the altered portions of the facility are readily
28                      accessible to and usable by individuals with disabilities, including



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 1                        individuals who use wheelchairs or to ensure that, to the maximum
 2                        extent feasible, the path of travel to the altered area and the
 3                        bathrooms, telephones, and drinking fountains serving the altered
 4                        area, are readily accessible to and usable by individuals with
 5                        disabilities where such alterations to the path or travel or the
 6                        bathrooms, telephones, and drinking fountains serving the altered
 7                        area are not disproportionate to the overall alterations in terms of cost
 8                        and scope. 42 U.S.C. § 12183(a)(2).
 9          21.    Where parking spaces are provided, accessible parking spaces shall be
10    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14    be van parking space. 2010 ADA Standards § 208.2.4.
15          22.    Under the ADA, the method and color of marking are to be addressed by
16    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17    Building Code (“CBC”), the parking space identification signs shall include the
18    International Symbol of Accessibility. Parking identification signs shall be reflectorized
19    with a minimum area of 70 square inches. Additional language or an additional sign
20    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21    parking space identification sign shall be permanently posted immediately adjacent and
22    visible from each parking space, shall be located with its centerline a maximum of 12
23    inches from the centerline of the parking space and may be posted on a wall at the
24    interior end of the parking space. See CBC § 11B-502.6, et seq.
25          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
26    each entrance to an off-street parking facility or immediately adjacent to on-site
27    accessible parking and visible from each parking space. The additional sign shall not be
28    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



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 1    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2    designated accessible spaces not displaying distinguishing placards or special license
 3    plates issued for persons with disabilities will be towed always at the owner’s expense…”
 4    See CBC § 11B-502.8, et seq.
 5          24.    Here, Defendants failed to provide a sign stating “Minimum Fine $250.”
 6          25.    For the parking spaces, access aisles shall be marked with a blue painted
 7    borderline around their perimeter. The area within the blue borderlines shall be marked
 8    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 9    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
10    be painted on the surface within each access aisle in white letters a minimum of 12 inches
11    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
12    11B-502.3.3.
13          26.    Here, Defendants failed to properly maintain the access aisles as there were
14    no “NO PARKING” and faded blue lines painted on the parking surface.
15          27.    The surface of each accessible car and van space shall have surface
16    identification complying with either of the following options: The outline of a profile
17    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
18    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
19    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
20    length of the parking space and its lower side or corner aligned with the end of the
21    parking space length or by outlining or painting the parking space in blue and outlining
22    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
23    occupant. See CBC § 11B-502.6.4, et seq.
24          28.    Here, Defendants failed to maintain the mark on the surface with the
25    International Symbol of Accessibility as required.
26          29.    Under the 1991 Standards, parking spaces and access aisles must be level
27    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
28    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles



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 1    shall be part of an accessible route to the building or facility entrance and shall comply
 2    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 3    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 4    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 5    directions. 1991 Standards § 4.6.3.
 6          30.      Here, the access aisle is not level with the parking space. Under the 2010
 7    Standards, access aisles shall be at the same level as the parking spaces they serve.
 8    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 9    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
10    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
11          31.      A public accommodation shall maintain in operable working condition those
12    features of facilities and equipment that are required to be readily accessible to and usable
13    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
14          32.      By failing to maintain the facility to be readily accessible and usable by
15    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
16    regulations.
17          33.      The Business has denied and continues to deny full and equal access to
18    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
19    discriminated against due to the lack of accessible facilities, and therefore, seeks
20    injunctive relief to alter facilities to make such facilities readily accessible to and usable
21    by individuals with disabilities.
22                                  SECOND CAUSE OF ACTION
23                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
24          34.      Plaintiff incorporates by reference each of the allegations in all prior
25    paragraphs in this complaint.
26          35.      California Civil Code § 51 states, “All persons within the jurisdiction of this
27    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
28    national origin, disability, medical condition, genetic information, marital status, sexual



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 1    orientation, citizenship, primary language, or immigration status are entitled to the full
 2    and equal accommodations, advantages, facilities, privileges, or services in all business
 3    establishments of every kind whatsoever.”
 4          36.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 5    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 6    for each and every offense for the actual damages, and any amount that may be
 7    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 8    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 9    attorney’s fees that may be determined by the court in addition thereto, suffered by any
10    person denied the rights provided in Section 51, 51.5, or 51.6.
11          37.    California Civil Code § 51(f) specifies, “a violation of the right of any
12    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
13    shall also constitute a violation of this section.”
14          38.    The actions and omissions of Defendants alleged herein constitute a denial
15    of full and equal accommodation, advantages, facilities, privileges, or services by
16    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
17    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
18    51 and 52.
19          39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
20    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
21    damages as specified in California Civil Code §55.56(a)-(c).
22                                   THIRD CAUSE OF ACTION
23                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
24          40.    Plaintiff incorporates by reference each of the allegations in all prior
25    paragraphs in this complaint.
26          41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
27    entitled to full and equal access, as other members of the general public, to
28    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,



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 1     and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 2     railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 3     of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 4     provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 5     places of public accommodations, amusement, or resort, and other places in which the
 6     general public is invited, subject only to the conditions and limitations established by
 7     law, or state or federal regulation, and applicable alike to all persons.
 8           42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 9     corporation who denies or interferes with admittance to or enjoyment of public facilities
10     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
11     individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
12     the actual damages, and any amount as may be determined by a jury, or a court sitting
13     without a jury, up to a maximum of three times the amount of actual damages but in no
14     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
15     determined by the court in addition thereto, suffered by any person denied the rights
16     provided in Section 54, 54.1, and 54.2.
17           43.    California Civil Code § 54(d) specifies, “a violation of the right of an
18     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
19     constitute a violation of this section, and nothing in this section shall be construed to limit
20     the access of any person in violation of that act.
21           44.    The actions and omissions of Defendants alleged herein constitute a denial
22     of full and equal accommodation, advantages, and facilities by physically disabled
23     persons within the meaning of California Civil Code § 54. Defendants have
24     discriminated against Plaintiff in violation of California Civil Code § 54.
25           45.    The violations of the California Disabled Persons Act caused Plaintiff to
26     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
27     statutory damages as specified in California Civil Code §55.56(a)-(c).
28     //



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 1                                  FOURTH CAUSE OF ACTION
 2                  CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
 3           46.    Plaintiff incorporates by reference each of the allegations in all prior
 4     paragraphs in this complaint.
 5           47.    Plaintiff and other similar physically disabled persons who require the use of
 6     a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 7     such facility is in compliance with the provisions of California Health & Safety Code §
 8     19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 9     provisions of California Health & Safety Code § 19955 et seq.
10           48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
11     that public accommodations or facilities constructed in this state with private funds
12     adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
13     Title 1 of the Government Code. The code relating to such public accommodations also
14     require that “when sanitary facilities are made available for the public, clients, or
15     employees in these stations, centers, or buildings, they shall be made available for
16     persons with disabilities.
17           49.    Title II of the ADA holds as a “general rule” that no individual shall be
18     discriminated against on the basis of disability in the full and equal enjoyment of goods
19     (or use), services, facilities, privileges, and accommodations offered by any person who
20     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
21     Further, each and every violation of the ADA also constitutes a separate and distinct
22     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
23     award of damages and injunctive relief pursuant to California law, including but not
24     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
25                                     FIFTH CAUSE OF ACTION
26                                           NEGLIGENCE
27           50.    Plaintiff incorporates by reference each of the allegations in all prior
28     paragraphs in this complaint.



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 1            51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 2     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
 3     to the Plaintiff.
 4            52.    Defendants breached their duty of care by violating the provisions of ADA,
 5     Unruh Civil Rights Act and California Disabled Persons Act.
 6            53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 7     has suffered damages.
 8                                      PRAYER FOR RELIEF
 9            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
10     Defendants as follows:
11            1.     For preliminary and permanent injunction directing Defendants to comply
12     with the Americans with Disability Act and the Unruh Civil Rights Act;
13            2.     Award of all appropriate damages, including but not limited to statutory
14     damages, general damages and treble damages in amounts, according to proof;
15            3.     Award of all reasonable restitution for Defendants’ unfair competition
16     practices;
17            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
18     action;
19            5.     Prejudgment interest pursuant to California Civil Code § 3291; and
20            6.     Such other and further relief as the Court deems just and proper.
21     //
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                                             COMPLAINT - 12
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 1                                DEMAND FOR TRIAL BY JURY
 2           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3     demands a trial by jury on all issues so triable.
 4
 5     Dated: September 20, 2022                      SO. CAL. EQUAL ACCESS GROUP
 6
 7
 8                                             By:    _/s/ Jason J. Kim___________
                                                      Jason J. Kim, Esq.
 9                                                    Attorneys for Plaintiff
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